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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

Judy Jones,                                  )
                                             )
        Plaintiff,                           )
                                             )
        v.                                   )      No.    12 C 10391
                                             )
P.N. Financial Inc., an Illinois             )
corporation,                                 )
                                             )
        Defendant.                           )      Jury Demanded

                                         COMPLAINT

        Plaintiff, Judy Jones, brings this action under the Fair Debt Collection Practices

Act, 15 U.S.C. § 1692, et seq. ("FDCPA"), for a finding that Defendant’s debt collection

actions violated the FDCPA, and to recover damages for Defendant’s violations of the

FDCPA, and alleges:

                                   JURISDICTION AND VENUE

        1.      This Court has jurisdiction pursuant to § 1692k(d) of the FDCPA, and 28

U.S.C. § 1331.

        2.      Venue is proper in this District because: a) the acts and transactions

occurred here; and, b) Defendant resides and transacts business here.

                                           PARTIES

        3.      Plaintiff, Judy Jones (“Jones"), is a citizen of the State of Missouri, from

whom Defendant attempted to collect a delinquent consumer debt that she allegedly

owed for a Metris credit card, despite the fact that she was represented by the legal aid

attorneys at the Chicago Legal Clinic's Legal Advocates for Seniors and People with

Disabilities program ("LASPD"), located in Chicago, Illinois.
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        4.    Defendant, P.N. Financial Inc. (“PNF”), is an Illinois corporation that acts as

a debt collector, as defined by § 1692a of the FDCPA, because it regularly uses the

mails and/or the telephone to collect, or attempt to collect, delinquent consumer debts.

From its offices in Lincolnwood, Illinois, Defendant PNF operates a nationwide debt

collection business and attempts to collect debts from thousands of consumers,

including many consumers in the State of Illinois. In fact, Defendant PNF was acting as

a debt collector as to the delinquent consumer debt it attempted to collect from Plaintiff.

        5.    Defendant PNF is authorized to conduct business in the State of Illinois

and maintains a registered agent within the State of Illinois, see, record from the Illinois

Secretary of State, attached as Exhibit A. In fact, PNF conducts substantial business in

Illinois.

        6.    Defendant PNF is licensed as a debt collection agency in the State of

Illinois, see, record from the Illinois Division of Professional Regulation, attached as

Exhibit B. In fact, PNF acts as a collection agency in Illinois.

                                FACTUAL ALLEGATIONS

        7.    Ms. Jones’ husband became disabled, which has diminished her assets

and income and caused her to fall behind on paying her bills, including one she

allegedly owed for a Metris credit card account. When PNF began trying to collect the

Metris debt from Ms. Jones, by sending her an initial form collection letter, dated

October 12, 2012, she sought the assistance of the legal aid attorneys at the Chicago

Legal Clinic’s LASPD program, regarding her financial difficulties and Defendant PNF’s

collection actions.




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       8.     Although this letter stated that it was Ms. Jones’ “FINAL NOTICE”, “Because

you have refused to address this debt despite being given every opportunity to do so”,

and “You have been repeatedly advised of your long overdue balance”, it was actually the

first letter Ms. Jones had ever received from PNF. This letter failed to advise Ms. Jones

of her right to dispute the debt under § 1692g of the FDCPA. A copy of Defendant

PNF’s collection letter is attached as Exhibit C.

       9.     Accordingly, on November 7, 2012, one of Ms. Jones' attorneys at LASPD

informed PNF, in writing, that Ms. Jones was represented by counsel, and directed PNF

to cease contacting her, and to cease all further collection activities because Ms. Jones

was forced, by her financial circumstances, to refuse to pay her unsecured debts.

Copies of this letter and fax confirmation are attached as Exhibit D.

       10.    Nonetheless, Defendant PNF called Ms. Jones directly including, but not

limited to, a telephone call on November 26, 2012, from telephone number 847-425-

5021, attempting to collect the Metris debt.

       11.    Accordingly, on November 26, 2012, one of Ms. Jones’ LASPD attorneys

had to write to Defendant PNF again to demand that it cease communications and

cease collection of the Metris debt. Copies of this letter and fax confirmation are

attached as Exhibit E.

       12.    Defendant PNF’s collection actions complained of herein occurred within

one year of the date of this Complaint.

       13.    Defendant PNF’s collection communications are to be interpreted under

the “unsophisticated consumer” standard. See, Gammon v. GC Services, Ltd.

Partnership, 27 F.3d 1254, 1257 (7th Cir. 1994).



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                                     COUNT I
                     Violation Of § 1692c(c) Of The FDCPA --
            Failure To Cease Communications And Cease Collections

      14.    Plaintiff adopts and realleges ¶¶ 1-13.

      15.    Section 1692c(c) of the FDCPA prohibits a debt collector from

communicating with a consumer after a direction to cease communications, and from

continuing to demand payment of a debt that the consumer has indicated that they

refuse to pay. See, 15 U.S.C. § 1692c(c).

      16.    Here, the letter from Ms. Jones’ agent/attorney, LASPD, told Defendant

PNF to cease communications and cease collections (Exhibit D). By continuing to

communicate regarding this debt and demanding payment, Defendant PNF violated §

1692c(c) of the FDCPA.

      17.    Defendant PNF’s violation of § 1692c(c) of the FDCPA renders it liable for

actual and statutory damages, costs, and reasonable attorneys’ fees. See, 15 U.S.C. §

1692k.

                                   COUNT II
                  Violation Of § 1692c(a)(2) Of The FDCPA --
            Communicating With A Consumer Represented By Counsel

      18.    Plaintiff adopts and realleges ¶¶ 1-13.

      19.    Section 1692c(a)(2) of the FDCPA prohibits a debt collector from

communicating with a consumer if the debt collector knows the consumer is

represented by an attorney with respect to such debts and has knowledge of, or can

readily ascertain, such attorney’s name and address. See, 15 U.S.C. § 1692c(a)(2).

      20.    Defendant PNF knew that Ms. Jones was represented by counsel in

connection with her debts because her attorneys at LASPD had informed Defendant, in



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writing (Exhibit D), that she was represented by counsel, and had directed Defendant

PNF to cease directly communicating with her. By directly calling Ms. Jones, despite

being advised that she was represented by counsel, Defendant PNF violated §

1692c(a)(2) of the FDCPA.

       21.    Defendant PNF’s violation of § 1692c(a)(2) of the FDCPA renders it liable

for actual and statutory damages, costs, and reasonable attorneys’ fees. See, 15 U.S.C.

§ 1692k.

                                      COUNT III
                                Violation Of § 1692g –
                   Failing To Provide The 30-Day Validation Notice

       22.    Plaintiff adopts and realleges ¶¶ 1-13.

       23.    Section 1692g of the FDCPA requires that, within 5 days of Defendant’s

first communication to a consumer, the Defendant provide the consumer with an

effective validation notice, i.e., notice that the consumer has 30 days after receipt of the

notice to challenge the validity of the debt, or any portion of the debt, and seek

verification of it. Moreover, § 1692g(b) further prohibits any collection activity and/or

communication during the 30-day period which overshadows, or is inconsistent with, the

disclosure of the consumer’s right to dispute the debt, see, 15 U.S.C. § 1692(b).

       24.    Defendant PNF’s October 12, 2012 letter was its first communication to

Ms. Jones and it failed to provide Ms. Jones with the 30-day validation notice. In fact,

Defendant’s letter stated that it was the “FINAL NOTICE” to Plaintiff, demanded payment

before the 30-day period and threatened various negative consequences for not paying.

Thus, Defendant PNF’s form collection letter violated § 1692g of the FDCPA by failing to

effectively provide the statutorily-required notice.



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       25.     Defendant PNF’s violation of § 1692g of the FDCPA renders it liable for

actual and statutory damages, costs, and reasonable attorneys’ fees. See, 15 U.S.C. §

1692k.

                                       COUNT IV
                         Violations Of § 1692e Of The FDCPA --
                          Numerous False Collection Actions

       26.     Plaintiff adopts and realleges¶¶ 1-13.

       27.     Section 1692e of the FDCPA prohibits a debt collector from using any

false and/or any deceptive or misleading representation or means in connection with the

collection of a debt, including, but not limited to, the false representation of the

character, amount or legal status of any debt, see 15 U.S.C. § 1692e(2)(A). Moreover,

debt collectors are barred from threatening any action that the collector cannot legally

take, see, 15 U.S.C. § 1692e(5).

       28.     Defendant PNF’s violations of §1692e include, but are not limited to,

falsely stating that:

       a)      Plaintiff has “. . . refused to address this debt despite being given every

       opportunity”;

       b)      Plaintiff had been “. . . repeatedly advised of [her] long overdue balance”;

       and,

       c)      Defendant had a right to impose “penalties” if the debt was not

       immediately resolved.

       30.     Defendant’s violations of § 1692e of the FDCPA render it liable for actual

and statutory damages, costs, and reasonable attorneys’ fees. See, 15 U.S.C. § 1692k.




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                                  PRAYER FOR RELIEF

       Plaintiff, Judy Jones, prays that this Court:

       1.     Find that Defendant PNF’s debt collection actions violated the FDCPA;

       2.     Enter judgment in favor of Plaintiff Jones, and against Defendant PNF, for

actual and statutory damages, costs, and reasonable attorneys’ fees as provided by §

1692k(a) of the FDCPA; and,

       3.     Grant such further relief as deemed just.

                                      JURY DEMAND

       Plaintiff, Judy Jones, demands trial by jury.

                                                     Judy Jones,

                                                     By: /s/ David J. Philipps________
                                                     One of Plaintiff’s Attorneys

Dated: December 28, 2012

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